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                                                            NON-CONFIDENTIAL VERSION



         IN THE UNITED STATES COURT OF INTERNATIONAL TRADE




 HANGZHOU AILONG METAL
 PRODUCTS CO., LTD.,

                           Plaintiff,              Before: Hon. Mark A. Barnett,
                                                          Chief Judge
                   V.

                                                   Court No. 22-00116
 UNITED STATES,

                                                   NON-CONFIDENTIAL VERSION
                           Defendant,

                                                   Business Proprietary Information
                   and
                                                   Removed from Pages: 2-3 and 9

 NUCOR TUBULAR PRODUCTS INC.,

                           Defendant-Intervenor.




      RESPONSE TO MOTION FOR JUDGMENT ON THE AGENCY RECORD




                                             Alan H. Price, Esq.
                                             Robert E. DeFrancesco, III, Esq.
                                             Maureen E. Thorson, Esq.
                                             Nicole C. Hager, Esq.

                                             W ILEY REIN LLP
                                             2050 M Street, NW
                                             Washington, DC 20036
                                             (202) 719-7000


                                             Counselfor Nucor Tubular Products Inc.



Dated: December 16, 2022
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I.        INTRODUCTION

          On behalf of Nucor Tubular Products Inc. ("Nucor Tubular"), we respectfully submit this

response to the August 22, 2022 opening brief of plaintiff Hangzhou Ailong Metal Products Co.,

Ltd. ("Ailong"). See Pl.'s Mem. in Supp. of Rule 56.2 Mot. for J. on the Agency R. (Aug. 22,

2022), ECF No. 25 ("Ailong's Brief'). Nucor Tubular adopts the arguments made in the United

States' November 22, 2022 response brief. Def.'s Mem. in Opp'n to Pl.'s Rule 56.2 Mot. for J.

upon the Agency R. (Nov. 22, 2022), ECF No. 31 ("Government's Brief'). In this brief, Nucor

Tubular provides additional context and arguments to aid the Court's understanding in Ailong's

appeal.

II.       STATEMENT OF FACTS

          Below, Nucor Tubular provides factual background pertinent to this appeal.

          A.       Ailong's Factors of Production

          Normally, to calculate antidumping duty margins, the U.S. Department of Commerce

("Commerce") compares the prices at which respondent companies sell goods in the United States

("export price") against the above-cost prices that they charge for the same or similar goods in

their home market ("normal value"). See, e.g., 19 U.S.C. §§ 1677f-1(d), 1677a, 1677b. In

proceedings involving non-market economies like the People's Republic of China ("China"),

however, home-market prices are considered distorted by government interference in the market.

Commerce accordingly determines normal value by first identifying the respondent's "factors of

production" or "FOP." See id. §1677b(c). These consist of the raw materials used by arespondent

to produce exported subject merchandise, along with inputs such as labor and energy, with

additional values for financial factors such as selling expenses and profit. See id. § 1677b(c)(3).




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The agency collects information on the respondents' usage rates for FOPs, and then seeks surrogate

market-economy values for them, which it uses to calculate normal value. See id. §1677b(c)(4).

       Consistent with this approach, Commerce's initial antidumping questionnaire explained

that the agency would use Ailong's FOP to construct the value of the light-walled rectangular pipe

and tube ("LWR") that Ailong sold in the United States, and requested that Ailong identify the

raw materials that it used to produce the goods it shipped. Antidumping Request for Information,

Light-Walled Rectangular Pipe and Tube from the Pecple's Republic cf China, Section D (Oct.

22, 2020) at D-1, P.R. 9. In response, Ailong reported that its exported LWR had only "one kind

of raw material, i.e. 0 raw square tube." Letter from Gaopeng & Partners to Sec'y Commerce, re:

Administrative Review cf the Antidumping Order on Light-Walled Rectangular Pipe and Tube

from the Pecple's Republic cf China: Section D Questionnaire Response (Dec. 7, 2020) at 18, P.R.

24, C.R. 11-15 ("Ailong's Section D Questionnaire Response").

       In response to asupplemental questionnaire, Ailong clarified that its production operations

consisted of "further processing ....purchased [                      ]." Letter from Gaopeng &

Partners to Sec'y Commerce, re: Administrative Review cf the Antidumping Duty Order on Light-

Walled Rectangular Pipe and Tube from the Pecple's Republic cf China: Response to Section D

Stipplemental Questionnaire (Mar. 30, 2021) at 8, P.R. 39, C.R. 23 ("Ailong's March 30

Supplemental Questionnaire Response"). This further processing added "significant value" to the

purchased material and consisted of activities such as"[

                     ]." id. According to Ailong, the export price of the subject merchandise was

"more than [        ]of the purchase price of the [                  ]." Id. Ailong initially asked

Commerce to calculate normal value based on its usage of the [                           ] that it

purchased. Id.




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       In another supplemental questionnaire response, Ailong confirmed that the [

     ]that it purchased were produced in China and provided the identity and consumption

quantities for each material that its main supplier used to manufacture the input. Letter from

Gaopeng & Partners to Sec'y Commerce, re: Administrative Review cf the Antidumping Duty

Order on Light-Walled Rectangular Pipe and Tubefrom the Pecple's Republic cf China: Response

to Section C&D Stipplemental Questionnaire (Apr. 27. 2021) at 13, P.R. 60, C.R. 27-30. The [

                                                                       ]was hot-rolled carbon steel

plate. Id. Ailong submitted aconsolidated database combining its FOP with the materials of its

main unaffiliated [                 ]supplier. Id. at 13-14, Exhibit D-26.

       B.          Valuing Ailong's FOP

       In proceedings involving non-market economies such as China, Commerce relies on

surrogate values, obtained from market economies, to value respondents' FOP. See 19 U.S.C.

§1677b(c)(4). Here, Commerce provided the parties with alist of six market economy countries

deemed economically comparable to China, and then invited the parties to submit information

from these or other market economies for its consideration in valuing Ailong's FOP. Letter from

Howard Smith, Program Manager, AD/CVD Operations, Off. IV, aft and Compliance, to

All Interested Parties, re: Administrative Review cf the Antidumping Duty Order on Light-Walled

Rectangular Pipe and Tube from the Pecple's &public cf China: Request for Economic

Devekpment, Surrogate Country, and Surrogate Value Comments and Irformation (Mar. 18,

2021), P.R. 34 ("Commerce Request for SV Information").'

       Nucor Tubular advocated for Commerce to select Malaysia as its primary surrogate

country, and subsequently submitted Malaysian import data for raw square tube. Letter from Wiley



1      The six countries were Brazil, Malaysia, Mexico, Romania, Russia, and Turkey.



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Rein LLP to Sec'y Commerce, re: Light-Walled Rectangular Pipe and Tube from the Pecple's

&public cf China: Comments on Surrogate Country Selection (Mar. 29, 2021) at 1-4, P.R. 38;

Letter from Wiley Rein LLP to Sec'y Commerce, re: Light-Walled Rectangular Pipe and Tube

from the Pecple's &public cf China: Submission cf Surrogate Values (Apr. 5, 2021) at 2, Exhibit

1, P.R. 47, C.R. 24-25 ("Nucor Tubular's SV Submission"). Nucor Tubular obtained this

information from the Global Trade Information Services database (commonly known as Global

Trade Atlas ("GTA")), asource that Commerce has long deemed to provide reliable information

for surrogate valuation purposes. See, e.g., Nucor Tubular's SV Submission at 2, Exhibit 1.

       For its part, Ailong provided Russian surrogate value data, which included Russian import

data for hot-rolled carbon steel plate sourced from the Datamyne Global Trade Analytics

subscription database ("Datamyne"), but no data for valuing raw square tube. Letter from Gaopeng

& Partners to Sec'y Commerce, re: Administrative Review cf the Antidumping Duty Order on

Light-Walled Rectangular Pipe and Tube from the Pecple's &public cf China: 2nd Submission cf

Surrogate Values (Aug. 2, 2021) at Exhibit SV-12, Exhibit SV-13, P.R. 63-69 ("Ailong's Russian

SV Submission"). 2 Nucor Tubular submitted rebuttal information and pre-preliminary comments

to show the unreliability of the Russian data. See generally Letter from Wiley Rein LLP to Sec'y

Commerce, re: Light-Walled Rectangular Pipe and Tube from the Pecple's &public cf China:

Rebuttal Surrogate Value Irformation (Aug. 12, 2021), P.R. 83 ("Nucor Tubular's Rebuttal SV

Submission"); Letter from Wiley Rein LLP to Sec'y Commerce, re: Light-Walled Rectangular



2       Ailong also provided certain Romanian surrogate value data. See, e.g., Letter from
Gaopeng & Partners to Sec'y Commerce, re: Administrative Review cf the Antidumping Duty
Order on Light-Walled Rectangular Pipe and Tube from the Pecple's &public cf China:
Submission cf Surrogate Values (Apr. 5, 2021) at 1, Exhibit 1, P.R. 41-46. However, Ailong
ultimately advocated for Russia's selection as the primary surrogate country in its agency case
brief, and does not advocate for reliance on Romanian data on appeal. Thus, Nucor Tubular does
not address the Romanian data in this submission.



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Pipe and Tube From the Pecple's &public cf China: Comments in Advance cf the Department's

Preliminary Results (Aug. 6, 2021) at 10-12, P.R. 82, C.R. 31 ("Nucor Tubular's Pre-Prelim.

Comments"). This included Russian import data for hot-rolled carbon steel plate released by GTA

and the United Nations Commodity Trade Statistics database ("COMTRADE"), for the first five

months of the period of review ("POR"), i.e., August-December 2019. 3 See generally Nucor

Tubular's Rebuttal SV Submission.

       In its preliminary results, Commerce selected Malaysia as the primary surrogate country,

finding that Malaysia provided the best available information to value Ailong's FOP. See

Preliminary Decision Memorandum accompanying Light-Walled Rectangular Pipe and Tube

From the Pecple's &public cf China, 86 Fed. Reg. 50,054 (Dep't Commerce Sept. 7, 2021)

(prelim. results of the antidumping duty admin. rev.; 2019-2020) at 5-10, P.R. 103 ("Prelim.

Decision Memo"). Commerce explained that unlike the Russian data, the Malaysian surrogate

value data were sourced from GTA, "Commerce's preferred source for {surrogate value} data."

Id. at 9. Commerce also noted that the Malaysian surrogate value data included values for raw

square tube, "the main input to produce subject merchandise." id. By contrast, the Russian data

was both less reliable and less specific, as it was not obtained from Commerce's preferred data

source, and contained no values for raw square tube. See id.; see also Memorandum from Thomas

Hanna, Int'l Trade Compliance Analyst, AD/CVD Operations, Off. IV aft and Compliance,

through Stephen Bailey, Program Manager, AD/CVD Operations, Off. IV Enr tand Compliance,

to The File, re: 2019-2020 Antidumping Duty Administrative Review cf Light-Walled Rectangular




3      At the time that Nucor Tubular submitted its rebuttal information, Russia had not yet
released its 2020 import data to GTA or COMTRADE. Letter from Wiley Rein LLP to Sec'y
Commerce, re: Light-Walled Rectangular Pipe and Tube from the Pecple's &public cf China:
Rebuttal Brief (Oct. 25, 2021) at 9, 11, P.R. 117, C.R. 51 ("Nucor Tubular's Rebuttal Brier).



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Pipe and Tube from the Pecple's &public cf China: Hangzhou Ailong Metal Products Co., Ltd.

Preliminary Surrogate Value Memorandum (Aug. 31, 2021) at 2-3, P.R. 105.

       Ailong and Nucor Tubular timely submitted case and rebuttal briefs. Letter from Crowell

& Moring LLP to Sec'y Commerce, re: Administrative Review cf the Antidumping Duty Order on

Light-Walled Rectangular Pipe and Tube from the Pecple's &public cf China: Case Bricf (Oct.

14, 2021), P.R. 114, C.R. 50 ("Ailong's Case Brier); Nucor Tubular's Rebuttal Brief. Ailong

argued that Commerce should select Russia as the primary surrogate country, and should in any

case rely on Russian hot-rolled steel prices in valuing Ailong's exported LWR. See generally

Ailong's Case Brief. Nucor Tubular advocated for continued reliance on Malaysian data. Nucor

Tubular's Rebuttal Brief at 6. In so doing, Nucor Tubular pointed out that valuing Ailong's goods

based on asurrogate value for raw square tube, rather than hot-rolled carbon steel, made sense

given Ailong's production process. Id. at 2-6. The Russian surrogate data favored by Ailong lacked

any value for raw square tube; moreover, those data were aberrational. Id. at 6-12.

       In the Final Results, Commerce continued to use Ailong's own FOP—rather than those of

its main supplier—to value the company's key steel input. Light-Walled Rectangular Pipe and

Tube From the Pecple's &public cf China, 87 Fed. Reg. 13,968 (Dep't Commerce Mar. 11, 2022)

(final results of antidumping duty admin. rev.; 2019-2020), P.R. 128 ("Final Results") and

accompanying Issues and Decision Memorandum at 4-6, P.R. 124 ("I&D Memo"). The agency

explained that its preliminary valuation method more closely reflected Ailong's production

experience than would reliance on its suppliers' inputs. Id. at 4. Further, the record demonstrated

that there were serious flaws in the data that Ailong had submitted for use in valuing its suppliers'

hot-rolled steel. Id. at 5. In particular, the record disclosed significant discrepancies between the




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quantity and value of the Datamyne information on Russian imports of hot-rolled steel plate and

COMTRADE and GTA data for such imports. Id.

III.    SUMMARY OF ARGUMENT

       This Court should deny Ailong's motion for judgment on the agency record and affirm

Commerce's Final Results. As noted in the Government's Brief, Ailong misconstrues and

misstates the manner in which Commerce calculated normal value. Nonetheless, Ailong appears

to challenge the Final Results on two grounds. First, it seems to argue that Commerce should not

have valued Ailong's raw square tube input directly, but should have relied on the materials and

usage rates obtained from Ailong's unaffiliated input supplier. Second, it seems to assert that

Commerce should have relied on the Russian surrogate value data for hot-rolled steel plate instead

of the Malaysian data for square tubes. Both claims are flawed.

       First, Commerce appropriately valued the raw tube that Ailong used to produce the subject

merchandise using asurrogate value for such tube, rather than surrogate values for the inputs into

that tube. This valuation methodology appropriately reflected Ailong's production experience,

operational setup, and pricing structure, as well as its further processing of raw square tube for

export to the United States. Contrary to Ailong's arguments, the Tariff Act of 1930 ("the Act")

does not prohibit Commerce from directly valuing an input that, if exported directly to the United

States, would itself be subject merchandise. Moreover, Ailong's concerns about double counting

are misplaced.

        Second, not only was there no Russian data available on the record for directly valuing raw

square tube, the only data that Ailong submitted for valuing hot-rolled steel—Datamyne data from

Russia—was from an unknown source and demonstrably inaccurate. Ailong could have put

hot-rolled steel data from other sources or countries on the record, including Malaysia, but chose




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not   to do so. Ailong also fails to account for the fact that Commerce prefers to value all FOP in

one surrogate country. Malaysia offered relevant financial statements, as well as contemporary and

appropriate surrogate values for all FOP. Russian financial statements, however, were less specific

to subject goods than the Malaysian statements on the record.

IV.      ARGUMENT

         Like the Government, Nucor Tubular understands Ailong's arguments ultimately to be that

(1) Commerce should have relied on the FOP of Ailong's unaffiliated input supplier to value the

raw square tube that Ailong consumed, rather than valuing that tube directly, and (2) Commerce

should have used Russian surrogate value data for hot-rolled steel instead of the Malaysian data

for square tubes. See Government's Brief at 9. Ailong argues that the agency is prohibited from

directly valuing apurchased input (here, the raw square tube) where that input, if exported to the

United States, would itself be within the scope of an antidumping order. For the reasons explained

below and in the Government's Brief, Commerce was empowered to value Ailong's actual, direct

inputs in calculating normal value. Further, even if Ailong's argument had facial merit, Ailong

fails to grapple with its decision not to submit data that would have allowed Commerce to

implement Ailong's proposed valuation methodology. It also fails to recognize and give due

weight to Commerce's reasonable preference for valuing all FOP within asingle surrogate country.




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       A.          Commerce's Decision to Value Ailong's Raw Steel Tube Input Using a
                   Surrogate Value for Raw Steel Tube Was Supported by Substantial Evidence

       During the underlying review, Ailong reported that it used square tube as its "only" raw

material in producing subject merchandise. See Ailong's Section D Questionnaire Response at 18.

Indeed, Ailong initially requested that Commerce calculate normal value using [                       ]

as an FOP. See Ailong's March 30 Supplemental Questionnaire Response at 8.

        Commerce reasonably valued Ailong's exported LWR based on the square tube that was

Ailong's main input, in addition to FOP corresponding to Ailong's further processing of that input

(labor, etc.). See I&D Memo at 4. This approach made sense given Ailong's production experience,

operational setup, and pricing structure, all of which reflected Ailong's purchase and further

processing of square tube. Commerce's approach was also consistent with its "normal practice

{of} valu {ing} purchased components and not the input factors used to produce them if the firm

is not integrated." Cl Issues and Decision Memorandum accompanying Certain Ball Bearings and

Parts Theraf From the Pecple's &public cf China, 68 Fed. Reg. 10,685 (Dep't Commerce Mar.

6, 2003) (notice of final deter. of sales at less than fair value) at 36; see also Issues and Decision

Memorandum accompanying Crystalline Silicon Photovoltaic Cells, Whether or not Assembled

into Modules, From the Pecple's &public cf China, 82 Fed. Reg. 29,033 (Dep't Commerce June

27, 2017) (final results of antidumping duty admin. rev, and final deter. of no shipments; 2014-

2015) at 22 (noting that the agency values the input purchased, unless the available surrogate value

information is so unsuitable that ausing abuild-up method to value the input if preferable); Issues

and Decision Memorandum accompanying Polyvinyl Alcohol from the Pecple's Republic cf

China, 68 Fed. Reg. 47,538 (Dep't Commerce Aug. 11, 2003) (notice of final deter. of sales at less

than fair value) at 7-9 (valuing input purchased by respondent based on surrogate value relevant

to that input, rather than on abuildup of surrogate values for the inputs of the supplier that produced



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the input); Issues and Decision Memorandum accompanying Certain Helical Spring Lock Washers

from the Pecple's Republic cf China, 70 Fed. Reg. 28,274 (Dep't Commerce May 17, 2005) (final

results of antidumping duty admin. rev.) at 13-15 (valuing plating services based on aprice quote

for plating, rather than on the plating subcontractor's material inputs and usage rates).

       Ailong argues that that the Act prohibits Commerce from valuing an input as an FOP if

that FOP falls within an order's scope description. Ailong's Brief at 16-18. Ailong argues that,

pursuant to 19 U.S.C. § 1677b(c)(3), an item cannot be both a"raw material" FOP and subject

merchandise at the same time. Id. at 11. According to Ailong, where arespondent uses an input

that itself would qualify as subject merchandise if exported directly to the United States,

Commerce must either rely on the market price of comparable merchandise under what Ailong

calls the "alternative method" contemplated in 19 U.S.C. §1677b(c)(2) or value the FOPs into the

component. See id. at 11, 15.

       As the Government cogently explains, Government's Brief at 12-14, Ailong's claim is

unpersuasive. The Act does not define either "FOP" or "raw material" so as to exclude inputs that

might themselves qualify as subject merchandise. 19 U.S.C. §§ 1677b(c)(1), (c)(3). Moreover,

Commerce has wide discretion in identifying and valuing appropriate FOP. See Sao Ta Foods

Joint Stock Co. v. United States, 425 F. Supp. 3d 1314, 1322 (Ct. Int'l Trade 2020). As such, the

agency is empowered to "define {} the ...FOPs based on information that it uncovers in an

investigation or review and {to} select{} the best available information to value that FOP ...."

Id. This Court has also held that the alternative methodology for calculating normal value provided

in 19 U.S.C. § 1677b(c)(2) neither demands an "all or nothing" approach as Ailong suggests nor

limits Commerce's discretion in identifying FOP. See Zhengzhou Harmoni Spice Co. v. United

States, 33 CIT 453, 461-64, 617 F. Supp. 2d 1281, 1292-93 (2009).




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       Beyond its statutory claim, Ailong contends that valuing square tube as an FOP led to

double counting. Ailong's Brief at 14, 17. Ailong notes that the surrogate value for square tube

presumably reflected the selling, general, and administrative expenses ("SG&A expenses") and

profit associated with the sale of square tube. Id. But Commerce also included surrogate values for

SG&A expenses and profit in its build-up of Ailong's normal value. Id. Accordingly, per Ailong,

Commerce's methodology overstates SG&A expenses and profit. But even if this were the case, it

is Ailong's own fault. As explained below, Ailong's submission of only unreliable Russian data

to value its suppliers' main input left Commerce with little choice but to rely on the Malaysian

data for raw square tube. See discussion ir,fra at Section IV.B. Commerce duly recognized the

potential for double-counting inherent in this data's use, but reasonably chose to rely on the

Malaysian data given the clear unreliability of the alternative data for which Ailong advocated.

I&D Memo at 6.

       In sum, Commerce sufficiently explained why it valued Ailong's consumption of square

tube using asurrogate value for square tube. Ailong's arguments that the statute barred Commerce

from adopting this approach are unavailing. Its arguments regarding double-counting are likewise

unpersuasive, and fail to appropriately recognize the unreliability of the alternative data that

Ailong championed.

       B.          The Surrogate Value Data That Ailong Submitted to Value Hot-Rolled Plate
                   Was Fatally Flawed

       During the review, Commerce issued alist of six market economy countries that it deemed

economically comparable to China, and invited the parties to submit information from these or

other economies for its consideration in valuing Ailong's FOP. See generally Commerce Request

for SV Information. Ailong submitted Datamyne data on Russian prices for hot-rolled carbon steel

plate and scrap, but no similar Russian data for valuing raw square tube. See, e.g., Ailong's Russian



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SV Submission at Exhibit SV-12, Exhibit SV-13. To demonstrate that the Russian Dataymine data

did not provide reliable or accurate values for hot-rolled steel or scrap, Nucor Tubular submitted

information including GTA and COMTRADE data for Russian imports of hot-rolled carbon steel

plate and scrap during the first five months of the POR, i.e., August-December 2019. See generally

Nucor Tubular's Rebuttal SV Submission; see also stipra note 3.

       Commerce ultimately declined to rely on the Russian Datamyne information, noting that it

was (1) not from its preferred data source (GTA), (2) not from the primary surrogate country, (3)

not specific to the direct input into Ailong's production (raw square tube) and (4) inconsistent with

other record information regarding the quantity and value of carbon steel plate imported into

Russia during the POR. I&D Memo at 5; see also Nucor Tubular's Rebuttal Brief at 9, 11.

Commerce's basis for rejecting the Dataymyne information made sense.

       As an initial matter, not only was Datamyne not GTA, it was not clear how, or from where,

the Datamyne data were collected. Ailong's surrogate value submissions labeled the source of the

Russian hot-rolled data as "GTA," the same abbreviation typically used to refer to Commerce's

known and trusted source for surrogate values. See Ailong's Russian SV Submission at Exhibit

SV-12. However, the data was not from GTA (i.e., Global Trade Atlas), but from the separate

Datamyne "Global Trade Analytics" database. See Nucor Tubular's Pre-Prelim. Comments at 11;

Nucor Tubular's Rebuttal Brief at 7. While GTA's data collection methods are well known, Ailong

did not provide any information regarding where or how the Datamyne information was collected.

See Nucor Tubular's Pre-Prelim. Comments at 11; Nucor Tubular's Rebuttal Brief at 7. In other

words, Ailong provided Commerce with no way of knowing where the information originally

came from, if it was accurate, or even if it was publicly available.




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       Moreover, the Datamyne data were unreliable. The Russian hot-rolled steel price sourced

from Datamyne—$192.81 per metric ton—was significantly lower than global hot-rolled prices

during the POR as well as historical prices in Russia. See Nucor Tubular's Rebuttal SV Submission

at 3-5. Indeed, the international publication Steel Business Briefing showed that Russian hot-rolled

pricing in 2020 was more than double the Datamyne price, at approximately $430.00 per metric

ton. Nucor Tubular's Rebuttal Brief at 8. That publication also indicated that hot-rolled pricing

during the POR in other countries that Commerce found economically comparable with China was

also significantly higher than the Datamyne price: Turkey ($461.00 per metric ton), Brazil

($590.00 per metric ton), and southeast Asia (including Malaysia) ($449.00 per metric ton). See

id.; see also Commerce Request for SV Information at Attachment 1. Steel Business Briefing

additionally indicated that Russian hot-rolled prices had never fallen below $200 per metric ton at

any time in the twenty years prior to the POR. Nucor Tubular's Rebuttal Brief at 8.

       Nucor Tubular also compared Ailong's proffered Russian import pricing to data from

COMTRADE and GTA. Nucor Tubular's Rebuttal SV Submission at 4, Exhibit 3. As shown

below, the COMTRADE and GTA data matched each other precisely as to both value and volume

for the five months of the POR for which the COMTRADE and GTA data were available. The

Datamyne data, however, differed significantly from these sources as to both the volume and value

of Russian imports, without any obvious explanation.




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  August 2019 —December 2019 Import Statistics For Russian Imports of Carbon Quality
                   Steel Sheet Classified Under Russian HTS Subheading 7208.54
 Source:                         Datamyne                    GTA                COMTRADE

 Number of data points               19                       24                      24

 Source Countries             China, Germany,           Belarus, China,         Belarus, China,
                             Italy, Latvia, Not         Germany, Italy,        Germany, Italy,
                             Declared, Poland,           Kazakhstan,            Kazakhstan,
                            Russia, South Korea,        Latvia, Poland,         Latvia, Poland,
                               Spain, Ukraine,           South Korea,            South Korea,
                              United Kingdom             Spain, Ukraine,        Spain, Ukraine,
                                                        United Kingdom         United Kingdom


 Declared Value (US$)           $2,882,685                $4,398,223              $4,398,223

 Quantity (MT)                  5,779.7185                 9,482.480              9,482.480


       Nucor Tubular's Rebuttal Brief at 9. Nucor Tubular also showed that the Datamyne data's


unreliability extended to the tariff provision that Ailong suggested should be used to value its


suppliers' steel scrap byproduct. Id. at 10-11. Ailong's Russian surrogate value data indicated that

Russia's POR scrap price was nearly $3,000 per metric ton. But the record showed that of the 64


countries in the world that imported any meaningful volume of steel scrap in 2020, no country's

scrap price exceeded $1,000 per metric ton. Id. at 10. For countries economically comparable to


China and Russia, the price for scrap was approximately $225 per metric ton, or thirteen-times less


than the Datamyne price for Russian scrap. Id.

       Interested parties bear the burden of creating an adequate record. See QVD Food Co. v.


United States, 658 F.3d 1318, 1324 (Fed. Cir. 2011) (sustaining finding that certain surrogate value


data were unreliable); accord Qingdao Sea-Line Trading Co. v. United States, 766 F.3d 1378,


1387 (Fed. Cir. 2014). Ailong was entitled to place on the record surrogate value information from


any source it wanted and from any country. See Commerce Request for SV Information; 19 C.F.R.


§351.301(c)(3). It could have submitted data to value hot-rolled plate from areputable source,




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such as GTA, and/or data from other countries, such as Malaysia. Instead, Ailong chose to submit

apparently unreliable Russian data from an untested source without any accompanying

documentation of the source's methods of data collection. Given the significant record evidence

that Ailong's Russian surrogate value data were riddled with errors, Commerce had little choice

but to reject those data. See I&D Memo at 5; see also Longkou Haimeng Mach. Co. v. United

States, 33 CIT 603, 609-10, 617 F. Supp. 2d 1363, 1369-70 (2009) (" {I} fCommerce selects a

particular set of data that is demonstrably unrepresentative or distortional areasonable mind may

rightly question how such aselection could be considered the `best."); T.T. Int'l Co. v. United

States, 439 F. Supp. 3d 1370, 1378 (Ct. Int'l Trade 2020) ("Where there is evidence that data is

aberrational, Commerce must address that evidence in order to demonstrate that the data is

nonetheless the best information available.").

       As explained above, Ailong has failed to persuade that Commerce erred in determining

normal value using asurrogate value the directly maps on to the actual input that Ailong used. But

even if there was facial merit to Ailong's claim, it built arecord that is bereft of reliable surrogate

value data for valuing Ailong's suppliers' production inputs. Instead, Ailong put forward only

demonstrably unreliable data. The Court should not reward Ailong for failing to build arecord that

would have enabled Commerce to use the surrogate valuation method that Ailong prefers. See

Qingdao Sea-Line Trading Co., 766 F.3d at 1387. Ailong made a strategic choice to submit

demonstrably inaccurate hot-rolled data from an unverified source and from a single country,

Russia. 4 See Nucor Tubular's Pre-Prelim. Comments at 12. Ailong must now live with this choice.




4      After Commerce completed the underlying review, the agency revoked Russia's market
economy status. See Emulsion Styrene-Butadiene Rubber From the Russian Federation, 87 Fed.
Reg. 69,002 (Dep't Commerce Nov. 17, 2022) (final affirm. deter. of sales at less than fair value
and classification of the Russian Federation as anon-market economy).



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       Moreover, Ailong's arguments that Commerce erred in rejecting its unreliable Russian

hot-rolled pricing fail to recognize that the agency prefers to value all FOP in asingle country.

See, e.g., I&D Memo at 5 ("Commerce generally prefers to value all FOP{} within a single

surrogate country ...."); Prelim. Decision Memo at 6(noting that "Commerce will normally value

FOPs using prices from asingle country."); see also 19 C.F.R. §351.408(c)(2). Here, Commerce

selected Malaysia as the surrogate country. It did so not only because Malaysia provided reliable

data for valuing Ailong's only direct material input (raw square tube), but because the Malaysian

financial statements on the record were most relevant to the subject merchandise and Ailong's

production. I&D Memo at 4, 7-8. Notably, Ailong has raised no challenge to Commerce's selection

of surrogate financial statements. See generally Ailong's Brief.

V.     CONCLUSION

       For the reasons discussed above and in the Government's Brief, Nucor Tubular respectfully

requests that this Court deny plaintiff's motion for judgment on the agency record.




                                                     Respectfully submitted,

                                                     /s/ Robert E. DeFrancesco, 11I
                                                     Alan H. Price, Esq.
                                                     Robert E. DeFrancesco, III, Esq.
                                                     Maureen E. Thorson, Esq.
                                                     Nicole C. Hager, Esq.

                                                     W ILEY REIN LLP
                                                     2050 M Street, NW
                                                     Washington, DC 20036
                                                     (202) 719-7000

                                                     Counsel for Nucor Tubular Products, Inc.

Dated: December 16, 2022




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                             CERTIFICATE OF COMPLIANCE


       Pursuant to Chamber Procedure 2(B)(1), the undersigned certifies that this brief complies


with the word limitation requirement. The word count for Response to Motion for Judgment on


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                                /s/ Robert E. DeFrancesco, 11I
                                     (Signature of Attorney)

                                  Robert E. DeFrancesco, III
                                      (Name of Attorney)

                                 Nucor Tubular Products, Inc.
                                     (Representative Of)


                                      December 16, 2022
                                            (Date)
